             Case 1:22-cv-00771-JLS Document 38 Filed 10/27/22 Page 1 of 3




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


JIMMIE HARDAWAY, JR., LARRY A. BOYD,
FIREARMS POLICY COALITION, INC., and
SECOND AMENDMENT FOUNDATION,

                                                        Plaintiffs,
v.                                                                    AFFIDAVIT IN RESPONSE TO
                                                                      PLAINTIFFS' MOTION FOR A
                                                                      TEMPORARY RESTRAINING
                                                                      ORDER AND PRELIMINARY
                                                                      INJUNCTION
KEVIN P. BRUEN, in his official capacity as
Superintendent of the New York State Police,                          Case#: 1:22-cv-00771-JLS
BRIAN D. SEAMAN, in his official capacity
as District Attorney for the County of Niagara,
New York, and JOHN J. FLYNN, in his offi-
cial capacity as District Attorney for the County
of Erie, New York,

                                                        Defendants.


STATE OF NEW YORK)
COUNTY OF ERIE   )                 ss.:
CITY OF BUFFALO  )
       KENNETH R. KIRBY, being duly sworn, deposes and says:
        1.        I am an Assistant Erie County Attorney, assigned by Erie County Attorney

Jeremy C. Toth to represent the Defendant, JOHN J. FLYNN, in his official capacity as District

Attorney for the County of Erie, New York, in the above-emtitled action.

       2.        Previously, I filed and served the Responding Affidavit of Erie County District

Attorney John J. Flyunn in response to the Plaintiffs' motion for a temporary restraining order

and a preliminary injunction (Doc. #25, incorporated herein by reference). At paragraph 5 of his

said affidavit, Mr. Flynn averred as follows: "Beaues the recently enacted gun control legislation

which the plaintiffs challenge as unconstitutional is a creature of New York State law, I


                                                    1
         Case 1:22-cv-00771-JLS Document 38 Filed 10/27/22 Page 2 of 3




respectfully leave to the State-related co-defendant the defense of the said legislation form the

plaintiffs' said challenge."

        3.     My client takes no position on the Plaintiffs' motion for a preliminary injunction,

except that he asserts, and respectfully submits, that no award of attorney fees, costs, or disburse-

ments can properly be entered against him inasmuch as he had nothing to do with the New York

Legislature's enactment of the challenged gun control legislation.

        WHEREFORE, deponent respectfully asks that if the Plaintiffs' motion for a

preliminary injunction is granted, that any Order granting said motion not contain any provision

for the award of attorney fees, disbursements, or costs as against Defendant, JOHN J. FLYNN, in

his official capacity as District Attorney for the County of Erie.

Subscribed and sworn to before me this 27 day of October,
2022 by Assistant Erie County Attorney Kenneth R.
Kirby, known by me and known to me to be the same.
                                                             s/ Kenneth R. Kirby
                                                            KENNETH R. KIRBY, ESQ.
                                                             Ass't. Erie Co. Att'y.
s/ Danette Drennen
NOTARY PUBLIC- STATE OF NEW YORK
Qualified in Erie County
My Commission Expires 2/14/23




                                                  2
         Case 1:22-cv-00771-JLS Document 38 Filed 10/27/22 Page 3 of 3




                                 CERTIFICATE OF SERVICE
       I, Kenneth R. Kirby, hereby certify that on the 27 day of October, 2022, I served the
foregoing upon the following via the Court's EM/CMF electronic filing/service system:



                                    PHILLIPS LYTLE LLP
                                     Nicolas J. Rotsko, Esq.
                                     Attorneys for Plaintiffs
                                     Office & P. O. Address:
                                          One Canalside
                                         125 Main Street
                                 Buffalo, New York 14203-2887
                                       Tel: (716)847-5467
                                Email: NRotsko@phillipslytle.com

                                        Brian P. Crosby, Esq.
                                      Niagara County Attorney
                                     Attorneys for Co- Defendant
 Brian D. Seaman, in his official capacity as District Attorney for the County of Niagara, New York
                                          175 Hawley Street
                                     Lockport, New York 14094
                                     Telephone: (716) 439-7105
                                   Email: bcrosby@gmclaw.com
Dated:    Buffalo, New York
October 27, 2022
                                                      Yours, etc.,
                                                      JEREMY C. TOTH, ESQ.
                                                      Attorney appearing specially and for limited
                                                      purpose only for JOHN J. FLYNN, in his
                                                      official capacity as District Attorney for the
                                                      County of Erie, New York

                                                      By: s/Kenneth R. Kirby, Esq.
                                                      KENNETH R. KIRBY, ESQ.
                                                      Ass't. Erie Co. Att'y.
                                                      Office & P. O. Address:
                                                      Erie County Department of Law
                                                      Edward J. Rath County Office Building
                                                      95 Franklin Street, Room 1634
                                                      Buffalo, New York 14202
                                                      Tel: (716)858-2226
                                                      Email: Kenneth.kirby@erie.gov


                                                 3
